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8                                UNITED STATES DISTRICT COURT
9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       THIEN LE,                                           No. 8:25-cv-00104-MEMF-ADS
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                    Plaintiff,                             ORDER RE: JOINT
12                                                         STIPULATION TO HOLD IN
                           v.                              ABEYANCE BRIEFING AND
13                                                         ADJUDICATION OF
                                                           PLAINTIFF’S EX PARTE
14     DONALD J. TRUMP, President of the United            APPLICATION FOR ENTRY OF
       States of America, et al,                           A TEMPORARY RESTRAINING
15                                                         ORDER AND TEMPORARY
                   Defendants.                             INJUNCTION
16
17                                                         Hon. Maame Ewusi-Mensah Frimpong
18                                                         United States District Judge

19
20          THIS CAUSE comes before the Court upon the parties’ joint stipulation and
21    request to hold in abeyance briefing and adjudication of Plaintiff’s ex parte application
22    for entry of a temporary restraining order (“TRO”) and temporary injunction (ECF Nos.
23    6, 10) (collectively “Plaintiff’s application”).
24          UPON CONSIDERATION of the stipulation, and for the reasons set forth therein,

25    the Court hereby holds briefing and adjudication of Plaintiff’s application IN

26    ABEYANCE, and VACATES all deadlines and hearings regarding the Plaintiff’s
      application and the Court’s Order to Show Cause (ECF No. 13);
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1           FURTHER, because the parties have requested only to “stay further proceedings
2     on this motion,” all other deadlines—including the deadline for filing a responsive
3     pleading—shall remain in effect;
4           FURTHER, Defendants shall promptly notify this Court within three days if any
5     of the following occur: (1) the government seeks to stay the TRO entered in Washington
6     v. Trump, No. 2:25-cv-00127-JCC, ECF Nos. 43, 44 (W.D. Wash. Jan. 23, 2025)

7     (“Washington v. Trump TRO”) or any subsequent preliminary injunction in a federal

8     appellate court, (2) any court of competent jurisdiction lifts the Washington v. Trump
      TRO, (3) the Washington v. Trump TRO otherwise ceases to be in effect, or (4) a
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      preliminary injunction is not granted and the Washington v. Trump TRO expires; and
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            FURTHER, following Defendants’ filing of such notice, Defendants shall have
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      five days to file their response to Plaintiff’s application.
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      Dated: January 24, 2025
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17
                                        HON. MAAME EWUSI-MENSAH FRIMPONG
18                                      UNITED STATES DISTRICT JUDGE
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